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                        UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF INDIANA
                            EVANSVILLE DIVISION

LYNNETTE J. KAISER on behalf of herself )
and all other persons similarly situated, et )
al.,
                                             )
                        Plaintiffs,          )
                                             )
                     v.                      )    No. 3:20-cv-00278-RLY-CSW
                                             )
ALCOA USA CORP., et al.,                     )
                                             )
                        Defendants.          )

    ORDER GRANTING MOTION TO WITHDRAW ERRONEOUSLY FILED
       MEMORANDUM OF LAW IN SUPPORT OF MOTION TO STAY
            INJUNCTION PENDING APPEAL (ECF No. 185)

        AND NOW, this 15th day of April 2025, upon consideration of Defendants’

 Motion to Withdraw Erroneously Filed Memorandum of Law in Support of Motion

 to Stay Injunction Pending Appeal (ECF No. 185), the Motion is hereby

 GRANTED. (ECF No. 188).

        IT IS THEREFORE ORDERED that the memorandum of law and its

 attachments filed by Defendants at ECF No. 185 is WITHDRAWN.

        SO ORDERED.

        Date: April 15, 2025




 Served electronically on all ECF-registered counsel.
